                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA

SIMON TERRANCE TUSHA                                   )
                                                       )
                   Petitioner,                         )
                                                       ) Criminal No. 16-055
              v.                                       ) Case No. 2:16-cr-00055-DWA
                                                       ) The Honorable Donetta W. Ambrose
UNITED STATES OF AMERICA,                              )
                   Respondent.


                                      ORDER

       AND NOW, to-wit, this _________ day of ________________, 2019, upon
consideration of Petitioner Simon Tusha’s Motion, it is hereby ORDERED, that said
Motion is hereby GRANTED, and that:




                                           _______________________
                                           Donetta W. Ambrose
                                           United States District Judge
